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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

Prinzo & Associates, LLC
                                       Plaintiff,
v.                                                        Case No.: 1:20−cv−03256
                                                          Honorable Gary Feinerman
BMO Harris Bank, N.A., et al.
                                       Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Sunday, September 6, 2020:


        MINUTE entry before the Honorable Gary Feinerman:. Given Plaintiff's filing of a
first amended complaint [33], which is its sole amendment of right under Civil Rule
15(a)(1), motion to dismiss [26] is denied as moot.Mailed notice.(jlj, )




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